792 F.2d 1101
    7 ITRD 2552, 4 Fed. Cir. (T) 86
    UNITED STATES STEEL CORPORATION, Plaintiff-Appellant,v.The UNITED STATES of America and the United StatesDepartment of Commerce, International TradeAdministration, Defendants-Appellees,andSSAB Svenskt Staal AB, Intervenor-Appellee.
    Appeal No. 86-603.
    United States Court of Appeals,Federal Circuit.
    May 23, 1986.
    
      J. Michael Jarboe, Pittsburgh, Pa., argued for plaintiff-appellant.  With him on the brief was John J. Mangan.
      Platte B. Moring, III, Dept. of Justice, Washington, D.C., argued for defendants-appellees.  With him on the brief were Richard K. Willard, Asst. Atty. Gen., David M. Cohen, Director and Velta A. Melnbrencis.  Lynn G. Kamarck and Elizabeth K. Dorminey, Import Admin., U.S. Dept. of Commerce, of counsel.
      Louis H. Kurrelmeyer, Winthrop, Stimson, Putnam &amp; Roberts, Washington, D.C., argued for intervenor-appellee SSAB Svenskt Staal AB.  With him on the brief was Robert Reed Gray.
      Before MARKEY, Chief Judge, RICH and ARCHER, Circuit Judges.
      ORDER
      ARCHER, Circuit Judge.
    
    
      1
      At oral argument, Appellee, United States, suggested mootness because all of the entries of merchandise here involved have been liquidated.  Appellant, United States Steel Corporation (U.S. Steel), agreed this was true but argued that we should nevertheless decide this appeal.  It contended that the short time frame would make judicial review of the action of the International Trade Administration (ITA) unavailable in this and similar circumstances where ITA has terminated a suspension order prior to the completion of a countervailing duty investigation.
    
    
      2
      U.S. Steel's assertion is not correct.  Here, U.S. Steel did not appeal the denial of the preliminary injunction by the Court of International Trade, which it could have done pursuant to 28 U.S.C. Sec. 1292(c)(1), nor did it seek a stay of the agency action pending appeal after the decision of that court.  With these alternatives available, we must dismiss this appeal which would not redress the alleged injury of U.S. Steel because it could not reach the entries in question.
    
    
      3
      Accordingly, IT IS ORDERED that the appeal be dismissed.
    
    